JS 44 (Rev. 03/24)          Case 3:25-cv-00197-JFS  Document
                                                CIVIL COVER1-3  Filed 01/31/25
                                                             SHEET                                                                                     Page 1 of 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                           DEFENDANTS
                                                                                                            ROBERT J. CLAUSS, THEODORE E. MALAKIN, III,
         Lori Dring and Nancy Asaro                                                                         JEFFREY BARONE, MARILEE BARONE,
   (b) County of Residence of First Listed Plaintiff             Morris County, NJ                          and  GENEVIEVE
                                                                                                            County                  GUTT
                                                                                                                   of Residence of First      SAYLOR
                                                                                                                                         Listed Defendant Wayne County, PA
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                            NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                       THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                  Attorneys (If Known)

         Philip A. Davolos III, Davolos Law Group, PO Box 188
         Clarks Summit, PA 18411, 570-362-3492
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                     III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                         (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                       PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                         Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                        of Business In This State

  2    U.S. Government                 4   Diversity                                               Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                   Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                     Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                      Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                               FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY              PERSONAL INJURY                     625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                365 Personal Injury -                    of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product             Product Liability               690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability              367 Health Care/                                                            INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &            Pharmaceutical                                                        PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                    Personal Injury                                                       820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’          Product Liability                                                     830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability              368 Asbestos Personal                                                     835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                      Injury Product                                                            New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product              Liability                                                             840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability             PERSONAL PROPERTY                              LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle           370 Other Fraud                      710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle           371 Truth in Lending                     Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability       380 Other Personal                   720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal              Property Damage                      Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                  385 Property Damage                  740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -           Product Liability                751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                              Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS             PRISONER PETITIONS                    790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation              440 Other Civil Rights      Habeas Corpus:                       791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                  463 Alien Detainee                       Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment              510 Motions to Vacate                                                     870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                    Sentence                                                                  or Defendant)                 896 Arbitration
  245 Tort Product Liability             Accommodations          530 General                                                               871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -  535 Death Penalty                        IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment              Other:                               462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -  540 Mandamus & Other                 465 Other Immigration                                                  950 Constitutionality of
                                         Other                   550 Civil Rights                         Actions                                                                State Statutes
                                     448 Education               555 Prison Condition
                                                                 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             2 Removed from                     3     Remanded from                  4 Reinstated or             5 Transferred from   6 Multidistrict                        8 Multidistrict
    Proceeding             State Court                            Appellate Court                  Reopened                    Another District       Litigation -                         Litigation -
                                                                                                                               (specify)              Transfer                             Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. § 1332
VI. CAUSE OF ACTION Brief description of cause:
                                       (1) Trespass; (2) Ejectment; and (3) Declaratory Judgment and Injunctive Relief.
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                  over 75,000.00                              JURY DEMAND:           Yes       No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE          Honorable Keli M. Neary                                  DOCKET NUMBER 3:23-cv-01576-KMN
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
Jan 31, 2025                                                         /s/ Philip A. Davolos III
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                    APPLYING IFP                                       JUDGE                           MAG. JUDGE
